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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
                                 _________

 VERNON OARD,

       Plaintiff,                              Hon. Paul L. Maloney

 v.                                            Case No. 1:17-cv-1136

 MUSKEGON COUNTY, et al.,

       Defendants,
 ________________________________/

                                      ORDER

      This matter is before the Court on plaintiff’s motion to compel discovery.

(ECF No. 22). Defendants have responded. (ECF No. 31). The Court conducted a

hearing on the motion today, at which counsel for all parties appeared. (Minutes,

ECF No. 33). Having considered the parties’ oral and written submissions, and for

the reasons stated on the record, the motion (ECF No. 22) is GRANTED in part, and

held in ABEYANCE in part. Accordingly,

      IT IS ORDERED that, with respect to plaintiff’s document request 7,

defendants shall determine whether a memorandum authored by Circuit Judge

Timothy Hicks concerning the investigation of Eric Stevens exists. Defendants shall,

within 21 days of the date of this order, advise plaintiff’s counsel whether the

memorandum in question exists; and if so, they shall either produce the document or

state the nature of any objections to its production. Any assertions of privilege must

be included in a privilege log.
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      IT IS FURTHER ORDERED that, with respect to plaintiff’s document

request 7, defendants shall determine whether any documents relating to Attorney

Franklin’s investigation exists. To the extent any such documents exists, defendants

shall, within 21 days of the date of this order, either produce the document or include

the assertion of any privilege on a privilege log.

      IT IS FURTHER ORDERED that defendants shall, within 21 days of the

date of this order, provide a written response to plaintiff’s document request 9

indicating whether there are any responsive documents.

      IT IS FURTHER ORDERED that counsel shall meet and confer to revise

plaintiff’s document request 20 to limit its scope to potential documents relating to

romantic or sexual relationships between Eric Stevens and those Muskegon County

employees whose employment status may have been affected by Mr. Stevens.

Counsel shall, within 21 days of the date of this order, devise search terms and a

search strategy for use by Muskegon County IT personnel to accomplish a search for

such responsive documents. Muskegon shall have thirty days thereafter to complete

an initial determination and advise plaintiff’s counsel of the number of responsive

documents.

      IT IS FURTHER ORDERED that counsel shall, within 21 days of the date

of this order, meet and confer to devise search terms and a search strategy to search

the contents of Eric Stevens’ county-issued cell phone for documents and messages

responsive to request 20. Muskegon County shall have thirty days thereafter to

secure the services of a contractor to obtain a mirror image of the contents of Eric

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Stevens’ cell phone, and to complete an initial determination and advise plaintiff’s

counsel of the number of responsive messages or documents on that cell phone.

Plaintiff shall pay half the cost of the mirror image and the initial determination, as

well as half the cost of any subsequent search requested by plaintiff.

      IT IS FURTHER ORDERED that the parties shall, no later than

November 15, 2018, file a joint report advising the Court as to whether there are any

unresolved issues relating to plaintiff’s motion to compel.

      IT IS SO ORDERED.

Date: September 26, 2018                /s/ Phillip J. Green
                                        PHILLIP J. GREEN
                                        United States Magistrate Judge




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